           Case 3:09-cr-00016-LRH-VPC                 Document 44     Filed 11/24/09     Page 1 of 4
AO2458 (Rev.09/08)JudgmentinaCrimi
                                 nalCase                                                  V
         Sheet1
                                       UNITED STATES DISTRICT COURT                                F?                    7?F
                                                                                                                         PIT
                                               DISTRICT OF N EVA DA                            97            =           Dl
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LTNITED STATESOF AMERICA                   JUDGM ENT IN A CRIM INAL CASE              V:    rxo                     @
                                                                                      Qz     w               .     jS
         vs.                                                                          rq                           !rJ
TAYLA J.SMITH                              USMNUMBER: 43193
                                           CASENLJM BER:       3:09-cr-16-LRl1(VPC)
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                                           Don Hill                                       7             ,L- -.- .-.
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TI'
  IE DEFENDANT:                            DEFENDANF
                                                   .,
                                                     SAU ORNEY                            j
                                                                                          ,
                                                                                          L.
                                                                                                                     jy
                                                                                                                    i'
                                                                                                                      )j-jg:
                                                                                                                           )
(z)     pled guilt
                 '
                 y to Count5ofthelndictment
()      plednolocontenderetocountts)                                      whichwasacceptedby thecourt.
()      wasfoundguilty on countts)                                        afterapleaofnotguil'
                                                                                             ty.
Thedefendantisadjudicatedguiltyoftheseoffensets):
                                                                               Date
Title & Section                 NatureofOffense                                O ffense E nded                    C ount

18U.S.C.1028(a)(7)              Unlawfu)Possession ofa M eansof                January 8,2009
                                Identitication




        Thedefendantissentencedasprovidedinpages2through 4 ofthisjudgment.Thesentenceisimposedpursuant
to the Sentencing Reform Actof 1984.

( ) Thedefendanthasbeen found notguiltyon countts)
(J) Count1isdismissed onthemotionoftheUnitedStates.
       IT IS ORDERED thatthe defendantmustnotify the United StatesAttorney forthisdistrictwithin 30 daysofany
change ofnam e,residence,orm ailing addressuntilallfines,restitution,costs,and specialassessm ents imposed by this
judgmentarefully paid. lfordered to pay restitution,thedefendantmustnotify theeourtand United Statesattorney of
m aterialehangesin econom iccircumstances.
                                                               N OV EM BER 23.2009
                                                               Date oflmposition ofJudgm ent

                                                                           h




                                                               SlgnatureofJudge

                                                               LARRY R.HICK S
                                                               U.S.DISTRICT JUDGE
                                                               N ame and TitleofJudge

                                                                            :#/a.</v$
                                                               Date
           Case 3:09-cr-00016-LRH-VPC                 Document 44           Filed 11/24/09    Page 2 of 4
AO2458 (Rev.09/08)Jud!mentinaCriminalCase
         Sheet4-Probatlon
DEFENDANT:                  TAYLA J.SM ITH                                                           Judgment-Page 2
CASE NUM BER:               3:09-cr-16-LRH(VPC)
                                                       PR O BA TIO N

        Thedefendantishereby sentenced to probation fora term ofFIVE (5)YEARS


Thedefendantshallnotcom m itanotherfederal,state,orlocalcrim e.

Thedefendantshallnotunlaw fully possessa controlled substance. Thedefendantshallrefrain from any unlawfuluse ofa
controlled substance.The defendantshallsubm itto onedrug testwithin 15 daysofreleasefrom im prisonmentand atleast
two periodic drug teststhereafter,notto exceed 104 drugtestsannually. Revocation ism andatory forrefusalto comply.

        Theabovedrugtesting condition issuspended basedonthecourt'sdeterm inationthatthedefendantposesa Iow risk
    offuturesubstanceabuse.(Check ifapplicable.)
    Thedefendantshallnotpossessatirearm,ammunition,destructivedevicesoranyotherdangerousweapon.(Check
    ifapplicable.)
(7) Thedefendantshallcooperatein thecollectionofDNA asdirectedbytheprobationoffice.(Check,ifapplicable.)
( ) ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(42 U.S.C.
    j 16901petseq.)asdirected bytheprobationoffice,theBureauofPrisons,orany state sexoffenderregistration
    agency in which he or she resides,works,isa student,orwas convicted of a qualifying offense.(Check,if
    applicable.)
    Thedefendantshallparticipatein an approvedprogram fordomesticviolence.(Check,ifapplicable.)
       Ifthisjudgmentimposesafineorarestitution,itisaconditionofprobationthatthedefendantpayinaccordancewith
theScheduleofPaymentssheetofthisjudgment.
        The defendantm ustcomply w ith the standard conditionsthathave been adopted by thiscourtaswellasw ith any
additionalconditionson theattached page.

                                     ST             CON DITIONS O F SUPERV ISIO N
        thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationoffice;
        thedefendantshallreporttotheprobationofticeandshallstzbmitatruthfulandcompletewrittenreportwithintheGrstfivedays
        ofeach m onth'
3)      thedefendantshallanswertruthfully a11inquiriesbytheprobation ofticeand follow theinstructionsoftheprobation office'
                                                                                                                          ,
4)      thedefendantshallsupporthisorherdependantsand meetotherfamilyresponsibilities'   ,
5)      thedefendantshallworkregularlyatalawfuloccupationunlessexcusedbytheprobationofticeforschooling,training,orother
        acceptablereasons'
        thedefendantshallnotifytheprobationofficeten dayspriorto any change inresidenceorem ploym ent'  ,
        the derendantshallrefrain from excessive use ofalcoholand shallnotpurchase,possess,use,distribute,oradm inisterany
        controlled substanceorany paraphernaliarelatedto any controlled substances exceptasprescribed byaphysician'
8)      thedefendantshallnotfrequentplaceswherecontrolled substancesareillegallysold used distributed,oradministered'
9)      thedefendantshallnotassociatewithanypersonsengaged incriminalactivity,andshallnotassociatewithanypersonconvicted
        ofafelony unlessgranted permission todo sobytheprobationofsce'
10)     thedet
             kndantshallpermitaprobationofticetovisithim orheratanytimeathomeorelsewhereandshallpennitcontiscation
        ofanycontraband observedinplain view oftheprobation office'
        thedefendantshallnotifythe probation officewithin seventy-two hoursofbeing arrested orquestionedbya law enforcement
        oflice'
        thedefendantshallnotenterintoanyagreem enttoactasan infonneroraspecialagentofaIaw enforcem entagencyw ithoutthe
        permission ofthecourt'and
        asdirected bytheprobation office,thedefendantshallnotify thirdpartiesofrisksthatmaybeoccasioned by thedefendant's
        crim inalrecord or personalhistory
                                         .
                                           orcharacteristics and shallpennitthe probation ofticeto m ake suchnotiticationsandto
        confirm the defendant'scom pliance with such notification requirem ent.
            Case 3:09-cr-00016-LRH-VPC           Document 44        Filed 11/24/09      Page 3 of 4
AO 2458 (Rev.09/08)Jud!mentinaCriminalCase
         Sheet3-Supervlsed Release
DEFENDANT:                TAYLA J.SM ITH                                                       Judgm ent-Page 3
CASE NUM BER:             3:09-cr-16-LRH(VPC)
                                      SPECIAL CONDITION S OF SUPERVISION

        Possession ofW eapon -Thedefendantshallllotpossess,haveunderhis/hercontrol,orhave accessto any firearm,
        explosive device,orotherdangerousweaponseasdetined by federal,state orIocallaw .

        W arrantlessSearch -The defendantshallsubm ithis/herperson,property,residence,place ofbusinessand vehicle
        underhis/hercontroltoaseareh,conductedby theUnited Statesprobation officeorany authorizedperson underthe
        im mediate and personalsupew ision oftheprobation office,atareasonabletim eand in areasonablem anner,based
        upon reasonable suspicion ofcontraband orevidenceofavioiation ofa condition ofsupervision.Failureto submit
        to a search m ay begroundsforrevocation.Thedefendantshallinform any otherresidentsthatthe prem isesmay be
        subjecttoasearchpursuanttothiscondition.
        Substance Abuse Treatm ent -The defendantshallparticipate in and successfully eom plete a substance abuse
        treatment and/or cognitive based life skills program ,which w ill include drug/alcoholtesting and outpatient
        counseling,asapproved and directed by theprobation office.Y ou shallrefrain from the useand possession ofbeer,
        w ine,Iiquorand otherform sofintoxicantswhileparticipating in substanceabusetreatment. Further,thedefendant
        shallbe required to contributeto the costsofservicesforsuch treatm ent,asapproved and directed by theprobation
        office,based upon his/herability to pay.

        Restit-ution Oblization -Thedefendantshallm akerestitution to in theam ountofTW ENTY FIV E and l5/lOOTHS
        DOLLARS ($25.15),pursuanttoapaymentscheduletobedetenninedbytheprobationoffice.
           Case 3:09-cr-00016-LRH-VPC                 Document 44         Filed 11/24/09   Page 4 of 4
AO 2458 (Rev09/08)JudgmentinaCrlminalCase
         Sheet5-CriminalM onetan'Penallies
DEFEN DANT:               TAYLA J.SM ITH                                                         Judgment-Page 4
CASENUM BER:              3:09-cr-16-LRH(VPC)
                                         C R IM IN AL M O N ETA RY PENA LT IE S

        Thedefendantmustpay the totalcrim inalm onetary penaltiesunderthe schedule ofpaym entson Sheet6.

                                    A ssessm ent                   Fine                        Restitution

        Totals:                     $100.00                        SW AIVED                    $25.15
                                    Dueand payable imm ediately.

        On m otion by the Governm ent,IT IS ORDERED thatthe specialassessm entimposed by the Courtisrem itted.

   )    Thedetermination ofrestitution isdeferred until                       .AnAmendedJudgmentinaCriminalCase
        (AO 245C)willbeentered aflersuch determination.
        Thedefendantshallmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlisted
        below.

        lfthe defendantmakesa partialpayment,each payee shallreceivean approximately proportioned paym ent,unless
        specifiedothel-wiseinthepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto 18U.S.C.j
        3664(1),a11nonfederalvictimsmustbepaidbeforetheUnited Statesispaid.
Nam eofPavee                                 TotalLoss             Restitution Ordered         Prioritx ofPercentaze

Clerk,U .S.DistrictCoul
                      't
Attn:FinancialOftice
CaseNo.3:09-cr-16-LRHIVPC)
333LasVegasBoulevard,South
LasVegas,N V 89101

TOTALS                                       $25.15                $25.l5


Restitutionamountorderedpursuanttopleaagreement: $

Thedefendantmustpay interestonrestitution and afineofmorethan$2,500,unlesstherestitutionorfineispaid infull
beforethefifteenthday afterthedateofjudgment,pursuantto 18 U.S.C.j3612(9.A11ofthepaymentoptionsonSheet6
may,besubjectto penaltiesfordelinquencyand default,pursuantto l8U.S.C.j3612(g).
Thecourtdeterm ined thatthedefendantdoesnothavethe ability to pay interestand itisordered that:

        theinterestrequirementiswaivedforthe: ( )tine ( )restitution.
        theinterestrequirementforthe: ( )Gne ( )restitutionismoditiedasfollows:


*Findingsforthe totalamountofIossesare required underChapters 109A,110,1l0A,and ll34.ofTitle 18 foroffenses
comm itted on orafterSeptem ber13,1994 butbefore April23,1996.
